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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


UNITED STATES OF AMERICA,                    )
                                             )
              v.                             )       Case No. 1:21-cr-00245-AJT
                                             )
IGOR Y. DANCHENKO,                           )
                                             )
                      Defendant.             )

                   CONSENT MOTION TO EXTEND DEADLINE FOR
                   DEFENDANT’S SECTION 5(a) WRITTEN NOTICE

       Defendant Igor Danchenko, by and through counsel, hereby files this request to extend the

deadline for the filing of his CIPA Section 5(a) written notice from July 25, 2022, to August 2,

2022. In support of his request, Mr. Danchenko provides the following:

   1. On May 12, 2022, this Court entered an Order setting a schedule for CIPA related filings

       and disclosures. Dkt. 50.

   2. The Court’s May 12 Order required Mr. Danchenko to file his Section 5(a) written notice

       by July 25, 2022.

   3. With the exception of some recent classified discovery disclosures regarding materials

       likely to by declassified by the time of trial, the Special Counsel completed his production

       of classified discovery on June 13, 2022.

   4. Subsequent to his June 13 disclosure, the Special Counsel, with the consent of counsel for

       Mr. Danchenko, pulled back several thousand pages of previously produced classified

       discovery that had not been reviewed by counsel for Mr. Danchenko, in order to review

       and make additional redactions to the previously produced discovery.

   5. The Special Counsel reproduced the bulk of the retracted discovery on July 20, 2022.



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   6. On July 20, 2022, counsel for Mr. Danchenko met with the Special Counsel to discuss

       issues related to the classified discovery in order to streamline the CIPA process. During

       that meeting, and based on the recent reproduction of a substantial amount of classified

       discovery that had not yet been reviewed, counsel for Mr. Danchenko and the Special

       Counsel agreed that an extension of the July 25, 2022, deadline for the Section 5(a) written

       notice was appropriate.

   7. Counsel for Mr. Danchenko and the Special Counsel agreed to recommend an extension of

       the Section 5(a) written notice deadline from July 25 to August 2.

   8. Counsel for Mr. Danchenko submits that the requested extension is necessary to ensure a

       sufficient review of the classified discovery and the filing of a complete and specific

       Section 5(a) written notice.

   9. Both Parties intend and expect to comply with the remaining scheduled CIPA deadlines,

       including the deadline for the Special Counsel’s response to the Section 5(a) written notice,

       the Defendant’s reply, and the August 30, 2022, CIPA hearing.

       WHEREFORE based on the foregoing reasons, undersigned counsel respectfully asks this

Honorable Court to extend the deadline for the filing of Defendant’s Section 5(a) written notice

from July 25, 2022, to August 2, 2022.


Dated: July 21, 2022                         Respectfully submitted,

                                                     /s/
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of July, 2022, I electronically filed a true copy of the

foregoing motion with the Clerk of Court using the CM/ECF system, which will send a notification

of such filing (NEF) to all parties.


                                                      /s/
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